Case 18-06208-dd   Doc 17   Filed 03/06/19 Entered 03/06/19 14:24:43   Desc Main
                            Document      Page 1 of 5
Case 18-06208-dd   Doc 17   Filed 03/06/19 Entered 03/06/19 14:24:43   Desc Main
                            Document      Page 2 of 5
Case 18-06208-dd   Doc 17   Filed 03/06/19 Entered 03/06/19 14:24:43   Desc Main
                            Document      Page 3 of 5
Case 18-06208-dd   Doc 17   Filed 03/06/19 Entered 03/06/19 14:24:43   Desc Main
                            Document      Page 4 of 5
Case 18-06208-dd   Doc 17   Filed 03/06/19 Entered 03/06/19 14:24:43   Desc Main
                            Document      Page 5 of 5
